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                                        Case No. 22-5260

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                             ORDER

DAVID ERMOLD; DAVID MOORE

              Plaintiffs - Appellees

v.

KIM DAVIS, Individually

              Defendant - Appellant



BEFORE: GRIFFIN, WHITE and BUSH, Circuit Judges.

     Upon consideration of the Appellees motion to issue sanctions,

     It is ORDERED that the motion is DENIED.



                                                 ENTERED BY ORDER OF THE COURT
                                                 Deborah S. Hunt, Clerk


Issued: January 17, 2023
                                                 ___________________________________
